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                               CERTIFICATE OF SERVICE


              I, Ann C. Cordo, certify that I am not less than 18 years of age, and that service of

the foregoing Thirteenth Interim Application Of Huron Consulting Group As Accounting

And Restructuring Consultant To Debtors And Debtors-In-Possession, For Allowance Of

Interim Compensation And For Interim Reimbursement Of All Actual And Necessary

Expenses Incurred For The Period February 1, 2010 Through February 28, 2010 was

caused to be made on March 22, 2010, in the manner indicated upon the entities identified

below:


Date: March 22, 2010                                Ann C. Cordo
                                                    Ann C. Cordo (No. 4817)

VIA HAND DELIVERY                                VIA FIRST CLASS MAIL

Patrick Tinker, Esq.                             Anna Ventresca
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